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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


BAY STATE MILLING COMPANY AND
ARISTA CEREAL TECHNOLOGIES PTY
LIMITED                                              CA No. ______________

               Plaintiffs,

v.

ARCADIA BIOSCIENCES, INC.,

               Defendant.




     CORPORATE DISCLOSURE STATEMENT PURSUANT TO FEDERAL RULE OF
     CIVIL PROCEDURE 7.1 OF PLAINTIFF ARISTA CEREAL TECHNOLOGIES PTY
                                  LIMITED

        Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned counsel for

Plaintiff Arista Cereal Technologies Pty Limited certifies that:

        1.     Limagrain Céréales Ingrédients SA, French company, owns a majority of the

stock of Plaintiff Arista Cereal Technologies Pty Limited, a nongovernmental Australian

corporate party.

        2.     Groupe Limagrain Holding SA, a French company, owns a majority of the stock

of Limagrain Céréales Ingrédients SA, a French company, a nongovernmental corporate party.

        3.     Société Coopérative Agricole Limagrain, a French company, owns a majority of

the stock of Groupe Limagrain Holding SA.
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Dated: April 1, 2019               /s/ Geoffrey G. Grivner
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